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                                UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF WEST VIRGINIA
                                      CHARLESTON DIVISION

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IN RE ETHICON, INC., PELVIC REPAIR                             : CIVIL ACTION NO. 2:12-md-02327
SYSTEM PRODUCTS LIABILITY                                      : MDL No. 2327
LITIGATION                                                     :
------------------------------------------------------------   : Judge Joseph R. Goodwin
This Document Applies To All Actions                           :
------------------------------------------------------------   X

To:      Christy D. Jones, Esq.
         Butler, Snow, O’Mara Stevens & Cannada, PLLC
         1020 Highland Colony Parkway, Suite 1400
         Ridgeland, MS 39157
         601-948-5711

                        PLAINTIFFS’ CERTIFICATE OF SERVICE OF
                    NOTICE TO TAKE ORAL DEPOSITION OF PAUL PARISI

         I hereby certify that on August 27, 2013, I served Plaintiff’s Notice to Take Oral Deposition

of Paul Parisi via email and the foregoing document was electronically filed with the Clerk of the

Court using the CM/ECF system which will send notification of such filing to the CM/ECF

participants registered to receive service in this MDL.

                                             By: ____/s/Thomas P. Cartmell_______________
                                                THOMAS P. CARTMELL
                                                Wagstaff & Cartmell LLP
                                                4740 Grand Avenue, Suite 300
                                                Kansas City, MO 64112
                                                816-701-1102
                                                Fax 816-531-2372
                                                tcartmell@wcllp.com

                                                 D. RENEE BAGGETT
                                                 Aylstock, Witkin, Kreis and Overholtz, PLC
                                                 17 E. Main Street, Suite 200
                                                 Pensacola, FL 32563
                                                 850-202-1010
                                                 850-916-7449
                                                 Rbaggett@awkolaw.com
                                                  Plaintiffs’ Co-Lead Counsel
